Case 2:22-cv-00319-TOR   ECF No. 89-10   filed 09/23/24   PageID.1339    Page 1
                                    of 8




                            Exhibit I




                                                                 Exhibit I Page 1
Case 2:22-cv-00319-TOR   ECF No. 89-10   filed 09/23/24   PageID.1340    Page 2
                                    of 8




                     WSU_00021020-WSU_00021024




                                                                 Exhibit I Page 2
Case 2:22-cv-00319-TOR          ECF No. 89-10   filed 09/23/24                    PageID.1341           Page 3
                                           of 8
                                       WSU_00021020


                                             Metadata
 All Custodians   Dennler, Bonnie; Elliot, Theresa; Gehring, Lisa                                     SEMANTIC
 All Paths        b.carothers@wsu.edu-3.pst//Top of Personal Folders/b.carothers@wsu.edu              SEMANTIC
                  (Primary)/Top of Information
                  Store/Inbox/HRS/Labor/KendraWF/1683b.eml//OFM_SHR_Vaccine_Mandate_Guidan
                  ce_Version3.docx//Microsoft_Word_Document1.docx; gehring@wsu.edu-2.pst//Top of
                  Personal Folders/gehring@wsu.edu (MainArchive)/Recoverable
                  Items/DiscoveryHolds/1def5.eml//OFM_SHR_Vaccine_Mandate_Guidance_Version3.
                  docx//Microsoft_Word_Document1.docx; gehring@wsu.edu.pst//Top of Personal
                  Folders/gehring@wsu.edu (Primary)/Top of Information Store/Inbox/Litigation Hold
                  Documents/Barnes/17b0d.eml//OFM_SHR_Vaccine_Mandate_Guidance_Version3.do
                  cx//Microsoft_Word_Document1.docx; telliot@wsu.edu.pst//Top of Personal
                  Folders/telliot@wsu.edu (Primary)/Top of Information Store/Inbox/Pandemic/vaccine
                  mask
                  WD/1a96b.eml//OFM_SHR_Vaccine_Mandate_Guidance_Version3.docx//Microsoft_W
                  ord_Document1.docx
 Author           Petrie, Valerie B (ATG)                                                             SEMANTIC
 Begin Family     WSU_00020972                                                                        SEMANTIC
 Custodian        Dennler, Bonnie                                                                     SEMANTIC
 End Family       WSU_00021031                                                                        SEMANTIC
 Extension        docx                                                                                SEMANTIC
 Family Date      10/11/2021 2:40 pm UTC                                                               VIRTUAL
 File Path        b.carothers@wsu.edu-3.pst//Top of Personal Folders/b.carothers@wsu.edu              SEMANTIC
                  (Primary)/Top of Information
                  Store/Inbox/HRS/Labor/KendraWF/1683b.eml//OFM_SHR_Vaccine_Mandate_Guidan
                  ce_Version3.docx//Microsoft_Word_Document1.docx
 Filename         Microsoft_Word_Document1.docx                                                       SEMANTIC
 MD5 Hash         1f5ed2bd8b6125b9ea411b55aab5f2ff                                                    SEMANTIC
 Placeholder      N                                                                                   SEMANTIC
 Primary Date     09/13/2021 5:39 pm UTC                                                               DOC_TYP
                                                                                                        E_ALIAS
 Redacted         N                                                                                   SEMANTIC
 SHA1 Hash        d939983694a0412c67c0ad1c75a1237599c5481e                                            SEMANTIC




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Case 2:22-cv-00319-TOR             ECF No. 89-10   filed 09/23/24               PageID.1342         Page 4
                                              of 8
GUIDANCE ON EVALUATING RELIGIOUS ACCOMMODATION REQUESTS

Please note that this guidance is intended for WA state agencies. It is not intended for broader use.

The process for reviewing a request for an exemption to the COVID-19 vaccination requirement
due to a sincerely held religious belief is a confidential interactive process between the
employee and the agency/organization human resources department. As with the ADA
accommodation process, the results of this process will be considered, analyzed, and
determined on a case-by-case basis. The employee must actively participate in the interactive
accommodation process and provide all information reasonably needed to evaluate the
request.

1. What is the definition of religion when assessing a request for religious accommodation?
Under federal and state law, "religion" is broadly defined. It includes traditional, organized
religions such as Christianity, Judaism, Islam, Hinduism, and Buddhism. A religious belief may
be individualistic, and it also includes religious beliefs that are new, uncommon, not part of a
formal church or sect, or only held by a small number of people. Non-theistic, moral or ethical
beliefs about what is right and wrong, which are sincerely held with the strength of traditional
religious views, may meet the definition of a sincerely held religious belief. However, social,
political, or economic philosophies, or personal preferences, are not "religious" beliefs under
the law.

2. How should an agency/organization evaluate a request for religious accommodation?
When reviewing the request, the agency should follow these abiding principles:
•      • Presume a religious belief to be sincerely held.
•      • Be cognizant that religious beliefs are not static and are susceptible to change over the
course of a person's life.
•      • Remember the fact that an individual is not a frequent observer of their faith or had
not previously made their faith public does not necessarily limit its sincerity.
•      • An accommodation does not have to be limited to what is requested by the employee.

3. Once it is determined an individual qualifies for an exemption to the vaccination
   requirement based on a sincerely held belief, what happens next?
   • Once a request has been made, the process is like the ADA accommodation process
   • The employee’s essential functions of the position should be considered and the
      agency/organization should engage in an interactive process to identify options to limit
      transmission of COVID-19 in the workplace without creating an undue hardship for the
      employer (see below). Agencies/organizations may consult the accommodation matrix
      for more information.

4. What can an employer do if they have questions about an employee’s request for religious
   accommodation from the vaccine mandate?
Federal guidance on religious accommodation encourages employers to presume that an
employee’s request for religious accommodation is based on a sincere belief in a religion,
unless the employer has a valid, objective reason to question the employee. The employer

                                      Version 2: Updated 9/13/2021
                                                    1

                                                                                           Exhibit I Page 4
                                                                                                        WSU_00021020
Case 2:22-cv-00319-TOR          ECF No. 89-10   filed 09/23/24           PageID.1343        Page 5
                                           of 8
GUIDANCE ON EVALUATING RELIGIOUS ACCOMMODATION REQUESTS

should review the request on its own merits, initiate discussion with the employee about
whether an employee’s religious belief is sincerely held (see questions below), possible
accommodation, and assess whether accommodation is possible. Employees have an
obligation to actively participate in the accommodation process and must cooperate with an
employer's attempt to accommodate their needs. In addition, the employee must show that
the proposed accommodation would enable the employee to perform the essential functions of
his/her position and is practical for the employer.

In determining whether an employee’s religious belief is sincerely held, a limited initial inquiry
could include objective, general questions, without delving too far into an employee’s reasons
for a particular belief and without requiring input from an outside source, such as a formal
religious leader. Such inquiries might include asking how long the employee has followed the
professed belief or what constitutes the basic tenets of the religion. The employer does not
have to accept a high-level statement of religious observance that provides no details; an
employer can ask about the specific belief, tenet, or observance that conflicts with the
vaccination requirement.

However, if the employer determines it needs additional supporting information, and/or has
doubts as to the sincerity or religious nature of the employee’s professed belief, the employer
has the option to request supporting documents or other types of verification from the
employee. Such written materials may include requesting the employee’s own first-hand
explanation. Employers should proceed with caution and obtain legal advice before seeking
third-party verification, e.g., requesting verification from the employee’s pastor, rabbi, church
elder, etc. Employers should keep questions and information requests focused on the
particular religious belief system, and not inquire into intensely personal details about the
employee’s level of observance or faith in their stated religion.

In evaluating a request for accommodation, employers are not required to consider only the
accommodation that the employee believes is the best one but must offer an alternative
accommodation that is reasonable. A reasonable accommodation can be determined only by
analyzing the specific facts surrounding a particular request and core job duties. Generally, an
accommodation is unreasonable if it (1) does not remove the conflict between the workplace
and the employee’s need for accommodation; (2) discriminates against the employee; or (3)
compromises the employee’s access to the terms, conditions and privileges of employment.
Federal guidance recommends that if more than one accommodation is possible, the employer
should offer the accommodation that will least disadvantage the employee’s opportunities in
the workplace.

Seek legal advice from your assigned labor and personnel assistant attorney general if you need
assistance.

5. What if an employee refuses to answer questions and/or complete the form?



                                   Version 2: Updated 9/13/2021
                                                 2

                                                                                   Exhibit I Page 5
                                                                                               WSU_00021021
Case 2:22-cv-00319-TOR         ECF No. 89-10   filed 09/23/24         PageID.1344       Page 6
                                          of 8
GUIDANCE ON EVALUATING RELIGIOUS ACCOMMODATION REQUESTS

An employee is required to participate in the interactive process. However, they are not
required to submit information in writing. Where an employee refuses to answer in writing, an
effort should be made to discuss the questions with the employee and the employer should
document their responses to comply with the proclamation.

6. What if an employee fails to complete just one part of the form (or even just one question,
     such as the one about prior vaccine/medicine) but completes the rest?
If the employee does not answer all the questions, the employer should consider the
information that was provided and assess if it has sufficient information to the employee has a
sincerely held religious belief which prevents vaccination.

7. What if an employee submits a different form entirely?
   If the employee submits a different form, the employer should determine if the information
   provided permits them to determine if the employee has a sincerely held religious belief
   which prevents vaccination. If a large number of employees submit the same form, please
   reach out to your AAG to discuss.

8. What if the reason cited is general, such as “My body is my temple?
Where an employee provides a general statement rather than answering the questions asked,
the employer may seek additional information reasonably necessary to determine if the
employee has a sincerely held religious belief which prevents vaccination.

9. What if the reasons cited by the employee are believed by the employer to be factually
    inaccurate?
Where the information provided by the employee appears to in inaccurate, such as the
employee stating the vaccines contain an ingredient which they do not, the employer could
provide the employee with educational resources, (i.e. DOH information on common
misconceptions about the COVID-19 vaccines:
https://www.doh.wa.gov/Emergencies/COVID19/VaccineInformation/VaccineFacts) and ask
them to confirm their continued request for accommodation after consulting the information.


10. How does an employer determine if a religious accommodation imposes more than a
    minimal burden on operation of the business (or an "undue hardship")?

     An accommodation based on religion utilizes a different standard than am accommodation
     based on a disability. With respect to religious accommodation, an accommodation is an
     “undue hardship” if it imposes more than a de minimis cost on the employer. It is
     incumbent upon the employer to establish that an accommodation is an undue hardship.
     An employer cannot rely on hypothetical hardship when faced with an employee’s religious
     obligation that conflicts with scheduled work but should rely on objective data.
     Considerations of an undue hardship may include:

 •      Type of workplace

                                  Version 2: Updated 9/13/2021
                                                3

                                                                               Exhibit I Page 6
                                                                                          WSU_00021022
Case 2:22-cv-00319-TOR             ECF No. 89-10   filed 09/23/24        PageID.1345         Page 7
                                              of 8
GUIDANCE ON EVALUATING RELIGIOUS ACCOMMODATION REQUESTS

 •     Nature of employee’s duties

 •     Actual work disruption

 •     A request that is unduly difficult, substantial, or disruptive to implement

 •     Causes a lack of staffing

 •     Cost of the accommodation and number of employees needing the accommodation

 •     Number of Employees Impacted by permitting the requested accommodation including seniority
 systems and collectively bargained rights – for example, other employees had CBA seniority right to choose
 their preferred jobs and shifts, and accommodation in this case would interfere with those rights.
 •     Size and operating costs of the business impact of the accommodation on the agency as a
       whole not just the impact on a satellite office.
 •     Safety Concerns and Security Considerations.

Seek legal advice from your assigned labor and personnel assistant attorney general to assess
options.

Resources:

EEOC Section 12 (Updated January 15, 2021):
https://www.eeoc.gov/laws/guidance/section-12-religious-discrimination

EEOC Technical Guidance, “What You Should Know About COVID-19 and the ADA, the
Rehabilitation Act, and Other EEO Laws (updated May 28, 2021):
https://www.eeoc.gov/wysk/what-you-should-know-about-covid-19-and-ada-rehabilitation-
act-and-other-eeo-laws#K.6

Washington Human Rights Commission (Updated July 2015):
https://www.hum.wa.gov/sites/default/files/public/99_Religion%20and%20non-
discrimination.pdf

Title VII of the Civil Rights Act of 1964:
https://www.eeoc.gov/statutes/title-vii-civil-rights-act-1964

Revised Code of Washington 49.60, Washington Law Against Discrimination:
https://app.leg.wa.gov/rcw/default.aspx?cite=49.60

Washington DOH, Building Confidence and Busting Myths:
https://www.doh.wa.gov/Emergencies/COVID19/VaccineInformation/VaccineFacts




                                     Version 2: Updated 9/13/2021
                                                   4

                                                                                     Exhibit I Page 7
                                                                                                WSU_00021023
Case 2:22-cv-00319-TOR   ECF No. 89-10   filed 09/23/24   PageID.1346    Page 8
                                    of 8
GUIDANCE ON EVALUATING RELIGIOUS ACCOMMODATION REQUESTS




                           Version 2: Updated 9/13/2021
                                         5

                                                                 Exhibit I Page 8
                                                                            WSU_00021024
